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                                       EXHIBIT 1

EXHIBIT #      IDENTIFICATION
Exh A          Excerpts from the Deposition Transcript of John Lockwood
               April 23, 2009
Exh B          Excerpts from the Deposition Transcript of John Lockwood
               July 27, 2009
Exh C          Excerpts from the Deposition Transcript of John Lockwood
               April 24, 2009
Exh D          Excerpts from the Deposition Transcript of T. Mark Jones Dep.
               December 8, 2009
Exh E          VAC-MDL 43246
Exh F          VAC-MDL 85323 - 85341
Exh G          Excerpts from the Deposition Transcript of John Lockwood
               July 23, 2008
Exh H          VAC-MDL 095517
Exh I          Excerpts from the Deposition Transcript of John Lockwood
               June 19, 2009
Exh J          Excerpts from the Deposition Transcript of T. Mark Jones Dep.
               March 19, 2008
